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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )


      NOTICE OF FILING OF PROPOSED ORDER REGARDING PLAINTIFFS’
  OBJECTIONS TO MAGISTRATE JUDGE’S ORDER DENYING MOTION TO AMEND
                         COORDINATION ORDER

         During the May 31, 2024 hearing, the Court ordered that the parties confer and submit a

  proposed order consistent with the Court’s statements during the hearing. Plaintiffs exchanged

  proposed drafts with counsel for Google and the parties held a meet-and-confer call on June 3,

  2024. The parties have not reached an agreement on the language of the proposed order, and

  Plaintiffs respectfully submit the attached proposed order for the Court’s consideration.




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  Dated: June 4, 2024

  Respectfully submitted,

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